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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION



MA LEG PARTNERS 1,                             §
                                               §
      Plaintiff.                               §

V.                                             § CIVIL ACTION NO. 3:19-cv-00219

CITY OF DALLAS,

     Defendant.



                      CERTIFICATE OF INTERESTED PERSONS



      Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR3.2(e), LR 7.4, LR 81.1(a)(4)(D),
and LR 81.2, MA Leg Partners 1, Plaintiff, provides the following information:


       For a nongovernmental corporate party, the name(s) of its parent corporation and
any publicly held corporation that owns 10% or more of its stock (if none, state "None"):

        None.



       A complete list of all persons, associations of persons, firms, partnerships,
corporations, guarantors, insurers, affiliates, parent or subsidiary corporations, or other
legal entities that are financially interested in the outcome of this case:

        MA LEG PARTNERS 1, Plaintiff




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Date: January 28, 2019
                                             /s/Richard B. Schiro
                                             Richard B. Schiro
                                             State Bar No. 17750600
                                             Greg E. Butts
                                             State Bar No. 00790409
                                             2706 Fairmount Street
                                             Dallas, Texas 75201
                                             rbschiro@schirolaw.com
                                             gebutts@schirolaw.com
                                             (214)521-4994 (telephone)
                                             (214)521-3838 (facsimile)
                                             ATTORNEYS FOR
                                             MA LEG BARTERS 1




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